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                                              January 17, 2018

VIA ECF and FAX

Hon. Paul G. Gardephe
United States District Judge
Southern District of New York
Thurgood Marshall United
States Court House
Room 705
40 Foley Square
New York, New York 10007

                                     Re:      Bloomberg v. NYCDOE, et al.
                                              17-cv-03136 (PGG)

Dear Judge Gardephe:

        This firm represents plaintiff Jill Bloomberg in the above-captioned matter. We write
jointly with counsel for defendants to request a referral to a magistrate judge for a settlement
conference. In addition, as the deadlines in the two pending motions were affected by plaintiff’s
November 27, 2017 letter-motion, the parties respectfully request the remaining deadlines in this
matter be stayed pending the magistrate judge’s attempts to assist the parties in reaching a
resolution. In the alternative, should the Court deny the requested stay, defendants would request
February 7, 2018 as the deadline for defendants to file a reply to their motion to dismiss and to
oppose plaintiff’s cross-motion.


                                              Respectfully submitted,


                                              ________/s/___________________
                                              Maria L. Chickedantz
                                              Attorney for Plaintiff


Cc:    Joseph Anci, Esq.
       Attorney for Defendants
